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                      EXHIBIT A
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                            SETTLEMENT AND RELEASE AGREMENT

            THIS SETTLEMENT AND RELEASE AGREEMENT (this “Agreement”) is made as
    of November 1, 2022, by and among Dometic Corporation (“Dometic”) and Gary Graus, Timothy
    Cherry, Richard and Leah Vollberg, Gwendolyn and Louis King, Paula Meurer , Andrew Young,
    Christopher Johnston, Richard Landsheft, Nelson and Marjorie Goehle, and Jill and Sid Garrett
    (collectively referred to herein as the “Papasan Plaintiffs”, each of whom is entering into this
    Agreement individually, and severally) (Dometic and each of the Papasan Plaintiffs being referred
    to herein as a “Party,” and all being collectively referred to herein as the “Parties”)

            WHEREAS, the Parties were previously involved in litigation styled Papasan, et al. v.
    Dometic Corporation, Case No. 3:16-cv-02117, in the United States District Court for the
    Northern District of California, and in the litigation styled Papasan et al. v. Dometic Corporation,
    Case No. 1:16-cv-22482 in the United States District Court for the Southern District of Florida
    (collectively, the “Litigation”);

           WHEREAS, on October 13, 2022, the Parties participated in a court-ordered settlement
    conference facilitated by Magistrate Judge Alicia M. Otazo-Reyes; and

            WHEREAS, during the settlement conference, the Parties reached an agreement
    concerning the settlement and release memorialized herein, for the purpose of fully and finally
    settling the disputes relating to the Litigation on the terms set forth in this Agreement.

            NOW, THEREFORE, in consideration of the foregoing Recitals, the good and valuable
    consideration exchanged between the Parties, and the mutual promises and covenants hereinafter
    set forth, the Parties agree as follows:

            1.       Papasan Plaintiffs’ Release of Claims. By executing this Agreement, the Papasan
    Plaintiffs hereby fully and finally release all claims, liabilities, demands, causes of action, or
    lawsuits, debts, damages, costs, attorneys’ fees, obligations, judgments, expenses, compensation,
    or liabilities known or unknown, and whether anticipated or unanticipated, of whatever kind or
    nature, character, and description—whether legal, statutory, equitable, or of any other type or form,
    whether under state or federal law, and whether brought in a representative or any other capacity—
    that the Papasan Plaintiffs did raise or could have raised concerning any Dometic-branded product
    owned or used by the Papasan Plaintiffs, whether now or at any time in the past (the “Papasan
    Released Claims”). The Papasan Plaintiffs expressly agree that the releases set forth herein shall
    apply to Dometic and any and all of Dometic’s current or former parents, affiliates, subsidiaries,
    predecessors, and successors, as well as any of their current or former officers, directors,
    employees, agents, attorneys, insurers, and reinsurers. By executing this Agreement, the Papasan
    Plaintiffs further acknowledge that, upon entry of final judgment by the United States District
    Court for the Southern District of Florida, the Litigation shall by such judgment be dismissed with
    prejudice, with all Parties to bear their own costs and fees, an order of dismissal with prejudice
    shall be entered, and all Released Claims shall thereby be conclusively settled, compromised,
    satisfied, and released by the Papasan Plaintiffs.

           2.       Dometic’s Release of Claims. By executing this Agreement, Dometic hereby fully
    and finally releases all claims, liabilities, demands, causes of action, or lawsuits, debts, damages,
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    costs, attorneys’ fees, obligations, judgments, expenses, compensation, or liabilities known or
    unknown, and whether anticipated or unanticipated, of whatever kind or nature, character, and
    description—whether legal, statutory, equitable, or of any other type or form, whether under state
    or federal law, and whether brought in a representative or any other capacity—that Dometic did
    raise or could have raised concerning any Papasan Plaintiff, whether now or at any time in the
    past, specifically including any costs and/or attorneys’ fees against any or all of the Papasan
    Plaintiffs arising out of the Litigation (the “Dometic Released Claims”). Dometic expressly agrees
    that the releases set forth herein shall apply to each Papasan Plaintiff and any and all of such
    Plaintiff’s, predecessors, and successors, as well as any of their current or former agents, attorneys,
    insurers, and reinsurers. By executing this Agreement, Dometic further acknowledges that, upon
    entry of final judgment by the United States District Court for the Southern District of Florida, the
    Litigation shall by such judgment be dismissed with prejudice, with all Parties to bear their own
    costs and fees, an order of dismissal with prejudice shall be entered, and all Dometic Released
    Claims shall thereby be conclusively settled, compromised, satisfied, and released by Dometic.

            3.       Compromise – No Admission of Liability. This Agreement embodies a
    settlement of matters that are disputed. Neither the execution of this Agreement nor any act
    undertaken pursuant to this Agreement or in the Litigation is or shall be deemed to be an admission
    of liability or wrongdoing on the part of Dometic or any Papasan Plaintiff.

             4.      Return and Destruction of Documents. Pursuant to Section 19 of the Stipulated
    Confidentiality and Protective Order entered in Case No. 16-cv-22482 [ECF No. 18] (the “Florida
    Protective Order”) and Section XIII of the Stipulated Confidentiality and Protective Order entered
    in Case No. 3:16-CV-02117 [ECF No. 52] (the “California Protective Order”), within sixty (60)
    days of the execution of this Agreement, each Party shall either destroy or return all confidential
    information produced by the other Party under the terms of either the Florida Protective Order or
    the California Protective Order, subject to the right of counsel to retain confidential material, or
    documents that reflect confidential . Notwithstanding the above, counsel for the Papasan Plaintiffs
    may maintain confidential information produced under the terms of the Florida Protective Order
    in the litigation styled Labbe et al. v. Dometic Corp., Case No. 2:20-cv-01975-DAD-DMC (E.D.
    Cal.). The maintenance and destruction of these documents are subject to the terms of both the
    Florida Protective Order and the Protective Order entered in Labbe et al. v. Dometic Corp. (the
    “Labbe Protective Order”). The terms of this provision do not require Plaintiffs’ counsel to return
    or destroy confidential documents that have been produced to Plaintiff’ counsel in other litigations.
    The maintenance, destruction, and return of any such documents will be governed by the terms of
    the protective order(s) entered in such matters.


           5.      Amendment. This Agreement shall not be amended except in a writing signed by
    each of the Parties.

            6.     Choice of Law. This Agreement shall be governed by the internal laws of the State
    of Florida, without resort to its choice of law principles. Any dispute arising from or relating to
    this Agreement will be resolved exclusively in the courts of the State of Florida.

           7.      Comprehension. Each Party acknowledges to the other Parties that it has been
    represented by independent legal counsel of its, her or his own choice, or has had the opportunity

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    to seek legal counsel, throughout all of the negotiations which preceded the execution of this
    Agreement and that this Agreement has been executed with the consent and on the advice of such
    independent legal counsel, if so retained. Each Party further acknowledges that there has been an
    adequate opportunity to make whatever investigation or inquiry they may deem necessary or
    desirable in connection with the subject matter of this Agreement prior to the execution hereof.

            8.      Interpretation. The language of this Agreement has been approved by counsel for
    each of the Parties. The language of this Agreement shall be construed as a whole according to its
    fair meaning and none of the Parties (or the Parties’ respective attorneys) shall be deemed to be
    the drafter of this Agreement in any action which may hereafter arise between the Parties. The
    headings and captions used herein shall not be used to interpret or construe this Agreement.

            9.      Counterparts. This Agreement may be executed in counterparts, but shall become
    effective and enforceable only when all Parties have signed this Agreement. Facsimile or PDF
    email signatures shall be binding as though originals. The Parties each understands that unless and
    until all Parties sign this Agreement, in counterpart or otherwise, it shall not be deemed an
    Agreement of the Parties.

            10.     Release as Defense to Further Action. This Agreement may be pleaded as a full
    and complete defense to any action, suit, or other proceeding that may be instituted or prosecuted
    with respect to any of the Papasan Released Claims or the Dometic Released Claims. Each of the
    Parties fully agrees that the Agreement may be pleaded as necessary for the purpose of enforcing
    the Agreement in any court of competent jurisdiction. This release, however, does not include any
    release of any Party’s claim or claims against any other Party arising out of a failure of any such
    other Party to perform such other Party’s obligations in conformity with the terms of this
    Agreement.

            11.    Continuing Jurisdiction. Notwithstanding any statement in this Agreement to the
    contrary, the United States District Court for the Southern District of Florida shall retain
    jurisdiction over the interpretation, effectuation, and implementation of this Agreement, as well as
    any and all matters arising out of, or related to, the interpretation, effectuation, or implementation
    of this Agreement and of the settlement and releases contemplated herein.

           12.     Representatives, Predecessors, Successors, and Assigns. This Agreement shall
    be binding upon and shall inure to the benefit of the Parties and each of their respective
    representatives, predecessors, successors, and assigns.

           13.     Confidentiality. The Parties agree that the terms of this Agreement are not
    confidential and that each Party may publicly disclose the terms of this Agreement.

            14.     Severability. In the event that any part of this Agreement is found to be illegal, in
    violation of public policy, or for any reason unenforceable, such finding shall not invalidate any
    other part of this Agreement.

           15.     No Reliance. Each of the Parties represents and warrants that, except for the
    representations and warranties specifically set forth in this Agreement, in executing this
    Agreement, it does not rely, and has not relied, on any representation or statement made by any

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    other Party to this Agreement, on any representation or statement made by anyone acting on behalf
    of any Party to this Agreement, or any representation or statement made by any other person.

           16.     Authority of Signatories. Each of the Parties to this Agreement represents and
    warrants that it is authorized to enter into this Agreement and that any required consents,
    authorizations or approvals have been obtained. Each of the signatories below represents and
    warrants that he has the authority to execute this Agreement on behalf of his respective principal.

             17.     Entire Agreement. This Agreement constitutes the entire understanding of the
    Parties concerning the subject matter contained herein and supersedes any and all prior or
    contemporaneous representations, promises, agreements or understandings, whether written or
    oral, relating to the subject matter hereof. Each Party represents and warrants to the other Parties
    that, in entering into this Agreement, it has not relied upon any representations, promises,
    agreements or understandings not contained in this Agreement

            IN WITNESS WHEREOF, the Parties have executed this Settlement Agreement to be
    effective on the date first written above.



                                        [Signature page to follow]




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     Dometic Corporation                      Papasan     Plaintiffs,   individually   and
                                              severally
     By:
     Title:
     On behalf of Dometic Corporation         By:
                                                      Gary Graus

                                              By:
                                                      Timothy Cherry

                                              By:
                                                      Richard and Leah Vollberg

                                              By:
                                                      Gwendolyn and Louis King

                                              By:
                                                      Paula Meurer

                                              By:
                                                      Andrew Young

                                              By:
                                                      Christopher Johnston

                                              By:
                                                      Richard Landsheft

                                              By:
                                                      Nelson and Marjorie Goehle

                                              By:
                                                      Jill and Sid Garrett




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                            SETTLEMENT AND RELEASE AGREMENT

            THIS SETTLEMENT AND RELEASE AGREEMENT (this “Agreement”) is made as
    of November 1, 2022, by and among Dometic Corporation (“Dometic”) and Gary Graus, Timothy
    Cherry, Richard and Leah Vollberg, Gwendolyn and Louis King, Paula Meurer , Andrew Young,
    Christopher Johnston, Richard Landsheft, Nelson and Marjorie Goehle, and Jill and Sid Garrett
    (collectively referred to herein as the “Papasan Plaintiffs”, each of whom is entering into this
    Agreement individually, and severally) (Dometic and each of the Papasan Plaintiffs being referred
    to herein as a “Party,” and all being collectively referred to herein as the “Parties”)

            WHEREAS, the Parties were previously involved in litigation styled Papasan, et al. v.
    Dometic Corporation, Case No. 3:16-cv-02117, in the United States District Court for the
    Northern District of California, and in the litigation styled Papasan et al. v. Dometic Corporation,
    Case No. 1:16-cv-22482 in the United States District Court for the Southern District of Florida
    (collectively, the “Litigation”);

           WHEREAS, on October 13, 2022, the Parties participated in a court-ordered settlement
    conference facilitated by Magistrate Judge Alicia M. Otazo-Reyes; and

            WHEREAS, during the settlement conference, the Parties reached an agreement
    concerning the settlement and release memorialized herein, for the purpose of fully and finally
    settling the disputes relating to the Litigation on the terms set forth in this Agreement.

            NOW, THEREFORE, in consideration of the foregoing Recitals, the good and valuable
    consideration exchanged between the Parties, and the mutual promises and covenants hereinafter
    set forth, the Parties agree as follows:

            1.       Papasan Plaintiffs’ Release of Claims. By executing this Agreement, the Papasan
    Plaintiffs hereby fully and finally release all claims, liabilities, demands, causes of action, or
    lawsuits, debts, damages, costs, attorneys’ fees, obligations, judgments, expenses, compensation,
    or liabilities known or unknown, and whether anticipated or unanticipated, of whatever kind or
    nature, character, and description—whether legal, statutory, equitable, or of any other type or form,
    whether under state or federal law, and whether brought in a representative or any other capacity—
    that the Papasan Plaintiffs did raise or could have raised concerning any Dometic-branded product
    owned or used by the Papasan Plaintiffs, whether now or at any time in the past (the “Papasan
    Released Claims”). The Papasan Plaintiffs expressly agree that the releases set forth herein shall
    apply to Dometic and any and all of Dometic’s current or former parents, affiliates, subsidiaries,
    predecessors, and successors, as well as any of their current or former officers, directors,
    employees, agents, attorneys, insurers, and reinsurers. By executing this Agreement, the Papasan
    Plaintiffs further acknowledge that, upon entry of final judgment by the United States District
    Court for the Southern District of Florida, the Litigation shall by such judgment be dismissed with
    prejudice, with all Parties to bear their own costs and fees, an order of dismissal with prejudice
    shall be entered, and all Released Claims shall thereby be conclusively settled, compromised,
    satisfied, and released by the Papasan Plaintiffs.

           2.       Dometic’s Release of Claims. By executing this Agreement, Dometic hereby fully
    and finally releases all claims, liabilities, demands, causes of action, or lawsuits, debts, damages,
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    costs, attorneys’ fees, obligations, judgments, expenses, compensation, or liabilities known or
    unknown, and whether anticipated or unanticipated, of whatever kind or nature, character, and
    description—whether legal, statutory, equitable, or of any other type or form, whether under state
    or federal law, and whether brought in a representative or any other capacity—that Dometic did
    raise or could have raised concerning any Papasan Plaintiff, whether now or at any time in the
    past, specifically including any costs and/or attorneys’ fees against any or all of the Papasan
    Plaintiffs arising out of the Litigation (the “Dometic Released Claims”). Dometic expressly agrees
    that the releases set forth herein shall apply to each Papasan Plaintiff and any and all of such
    Plaintiff’s, predecessors, and successors, as well as any of their current or former agents, attorneys,
    insurers, and reinsurers. By executing this Agreement, Dometic further acknowledges that, upon
    entry of final judgment by the United States District Court for the Southern District of Florida, the
    Litigation shall by such judgment be dismissed with prejudice, with all Parties to bear their own
    costs and fees, an order of dismissal with prejudice shall be entered, and all Dometic Released
    Claims shall thereby be conclusively settled, compromised, satisfied, and released by Dometic.

            3.       Compromise – No Admission of Liability. This Agreement embodies a
    settlement of matters that are disputed. Neither the execution of this Agreement nor any act
    undertaken pursuant to this Agreement or in the Litigation is or shall be deemed to be an admission
    of liability or wrongdoing on the part of Dometic or any Papasan Plaintiff.

             4.      Return and Destruction of Documents. Pursuant to Section 19 of the Stipulated
    Confidentiality and Protective Order entered in Case No. 16-cv-22482 [ECF No. 18] (the “Florida
    Protective Order”) and Section XIII of the Stipulated Confidentiality and Protective Order entered
    in Case No. 3:16-CV-02117 [ECF No. 52] (the “California Protective Order”), within sixty (60)
    days of the execution of this Agreement, each Party shall either destroy or return all confidential
    information produced by the other Party under the terms of either the Florida Protective Order or
    the California Protective Order, subject to the right of counsel to retain confidential documents or
    documents that contain confidential material pursuant to the terms of the Florida Protective Order
    and the California Protective Order. Notwithstanding the above, counsel for the Papasan Plaintiffs
    may maintain confidential information produced under the terms of the Florida Protective Order
    in the litigation styled Labbe et al. v. Dometic Corp., Case No. 2:20-cv-01975-DAD-DMC (E.D.
    Cal.). The maintenance and destruction of these documents are subject to the terms of both the
    Florida Protective Order and the Protective Order entered in Labbe et al. v. Dometic Corp. (the
    “Labbe Protective Order”). The terms of this provision do not require Plaintiffs’ counsel to return
    or destroy confidential documents that have been produced to Plaintiff’ counsel in other litigations.
    The maintenance, destruction, and return of any such documents will be governed by the terms of
    the protective order(s) entered in such matters.


           5.      Amendment. This Agreement shall not be amended except in a writing signed by
    each of the Parties.

            6.     Choice of Law. This Agreement shall be governed by the internal laws of the State
    of Florida, without resort to its choice of law principles. Any dispute arising from or relating to
    this Agreement will be resolved exclusively in the courts of the State of Florida.



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          7.      Comprehension. Each Party acknowledges to the other Parties that it has been
   represented by independent legal counsel of its, her or his own choice, or has had the opportunity
   to seek legal counsel, throughout all of the negotiations which preceded the execution of this
   Agreement and that this Agreement has been executed with the consent and on the advice of such
   independent legal counsel, if so retained. Each Party further acknowledges that there has been an
   adequate opportunity to make whatever investigation or inquiry they may deem necessary or
   desirable in connection with the subject matter of this Agreement prior to the execution hereof.

           8.      Interpretation. The language of this Agreement has been approved by counsel for
   each of the Parties. The language of this Agreement shall be construed as a whole according to its
   fair meaning and none of the Parties (or the Parties’ respective attorneys) shall be deemed to be
   the drafter of this Agreement in any action which may hereafter arise between the Parties. The
   headings and captions used herein shall not be used to interpret or construe this Agreement.

           9.      Counterparts. This Agreement may be executed in counterparts, but shall become
   effective and enforceable only when all Parties have signed this Agreement. Facsimile or PDF
   email signatures shall be binding as though originals. The Parties each understands that unless and
   until all Parties sign this Agreement, in counterpart or otherwise, it shall not be deemed an
   Agreement of the Parties.

           10.     Release as Defense to Further Action. This Agreement may be pleaded as a full
   and complete defense to any action, suit, or other proceeding that may be instituted or prosecuted
   with respect to any of the Papasan Released Claims or the Dometic Released Claims. Each of the
   Parties fully agrees that the Agreement may be pleaded as necessary for the purpose of enforcing
   the Agreement in any court of competent jurisdiction. This release, however, does not include any
   release of any Party’s claim or claims against any other Party arising out of a failure of any such
   other Party to perform such other Party’s obligations in conformity with the terms of this
   Agreement.

           11.    Continuing Jurisdiction. Notwithstanding any statement in this Agreement to the
   contrary, the United States District Court for the Southern District of Florida shall retain
   jurisdiction over the interpretation, effectuation, and implementation of this Agreement, as well as
   any and all matters arising out of, or related to, the interpretation, effectuation, or implementation
   of this Agreement and of the settlement and releases contemplated herein.

          12.     Representatives, Predecessors, Successors, and Assigns. This Agreement shall
   be binding upon and shall inure to the benefit of the Parties and each of their respective
   representatives, predecessors, successors, and assigns.

          13.     Confidentiality. The Parties agree that the terms of this Agreement are not
   confidential and that each Party may publicly disclose the terms of this Agreement.

           14.     Severability. In the event that any part of this Agreement is found to be illegal, in
   violation of public policy, or for any reason unenforceable, such finding shall not invalidate any
   other part of this Agreement.



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          15.      No Reliance. Each of the Parties represents and warrants that, except for the
   representations and warranties specifically set forth in this Agreement, in executing this
   Agreement, it does not rely, and has not relied, on any representation or statement made by any
   other Party to this Agreement, on any representation or statement made by anyone acting on behalf
   of any Party to this Agreement, or any representation or statement made by any other person.

          16.     Authority of Signatories. Each of the Parties to this Agreement represents and
   warrants that it is authorized to enter into this Agreement and that any required consents,
   authorizations or approvals have been obtained. Each of the signatories below represents and
   warrants that he has the authority to execute this Agreement on behalf of his respective principal.

            17.     Entire Agreement. This Agreement constitutes the entire understanding of the
   Parties concerning the subject matter contained herein and supersedes any and all prior or
   contemporaneous representations, promises, agreements or understandings, whether written or
   oral, relating to the subject matter hereof. Each Party represents and warrants to the other Parties
   that, in entering into this Agreement, it has not relied upon any representations, promises,
   agreements or understandings not contained in this Agreement

           IN WITNESS WHEREOF, the Parties have executed this Settlement Agreement to be
   effective on the date first written above.



                                       [Signature page to follow]




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    Dometic Corporation                       Papasan     Plaintiffs,   individually   and
                                              severally
    By:
    Title: Vice President and General
    Counsel                                   By:
    On behalf of Dometic Corporation                  Gary Graus

                                              By:
                                                      Timothy Cherry

                                              By:
                                                      Richard and Leah Vollberg

                                              By:
                                                      Gwendolyn and Louis King

                                              By:
                                                      Paula Meurer

                                              By:
                                                      Andrew Young

                                              By:
                                                      Christopher Johnston

                                              By:
                                                      Richard Landsheft

                                              By:
                                                      Nelson and Marjorie Goehle

                                              By:
                                                      Jill and Sid Garrett




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